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QFm_~K.m O_u_u_Qm
CZ_._.mU m._.>._.mm U_m._l_~_O._. QOC_~.H
_.10_~ ._._._m U_m._.m_O._. O_.l OOFC_<_m_>

c.m. ooc_~._._._Ocmm
www nozm._._.E._._oz ><mzcm. z.<<.
<<>m_.__ZO._.OZ. UO mooo_

 

 

011_0_>_1 mCm_mem

 

§ § ____ m@@@_<w@_
§m__ D;@_,__

__ _ __ ____ _ __ __ >__@®_@ __.O§m_.@_m_§:...§__. ;. ;
_________ ____ _____ . . . _ §§ ..» ,_ ..__ §
wmcom wmzmoz cm @_w__§no=;_o_m_§: ncr mw P__@

mjo.<<mm_ rm_$ _<_mma mo_,__m<m:_

m:__m w__ .. _MW_@___…, t _…._§__,,__,_ _,_…_n_‘_._, § gen
§ <§@ z< § 3 § _________ ge _. __________ @_ _____________

…m.mw._ “.‘\N._..\..‘ :__Z_w:___z_.*_M__23__LM$_:MW:_$_$Z_ES:_.T_.TW

